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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             Southern District of New York


                                                             86 Chambers Street
                                                             New York, New York 10007


                                                             July 19, 2022
BY ECF
Honorable Paul A. Engelmayer
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re:     Open Society Justice Initiative v. Central Intelligence Agency, et al.,
               No. 19 Civ. 234 (PAE) (BCM)
               Open Society Justice Initiative v. Department of Justice, et al.,
               No. 19 Civ. 1329 (PAE) (BCM)

Dear Judge Engelmayer:

       We write respectfully to submit a joint status letter pursuant to the Court’s June 22, 2022,
Order, ECF No. 263.

        As we have previously reported, at the time of the last status report to the Court, the only
remaining issue in this matter related to a set of records as to which the State Department
consulted with the Treasury Department. The parties have now resolved all outstanding concerns
with respect to those records. All issues in this matter have now been resolved. Accordingly, the
parties are working to promptly submit to the Court a stipulation and proposed order of
dismissal.

       We thank the Court for its consideration of this submission.

                                              Respectfully submitted,

By: /s/ Catherine Amirfar                         DAMIAN WILLIAMS
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